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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

     v.                                               Case No. 23-CR-427

 DANIEL EDWIN WILSON,

      Defendant.

          UNITED STATES’ RESPONSE TO COURT’S MINUTE ORDER DATED
                              FEBRUARY 3, 2025

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Court’s order dated February 3,

2025. Wilson originally had two criminal cases in two different jurisdictions: one indictment in

the Western District of Kentucky relating to his unlawful possession of firearms as a prohibited

possessor, and one in the District of Columbia related to his activities at the U.S. Capitol on January

6, 2021. Wilson was indicted by a on January 18, 2023 in the Western District of Kentucky on 18

U.S.C. § 922(g)(1), 18 U.S.C. §§ 924(a)(2) & (d), 26 U.S.C. § 5841, 26 U.S.C. § 5861(d), 26

U.S.C. § 5871, 26 U.S.C. § 5872, and 28 U.S.C. § 2461, arising from his possession of firearms

on or about June 3, 2022 (ECF 59). Wilson was originally charged in the District of Columbia by

complaint on May 17, 2023, with 18 U.S.C. § 1512(c)(2), 18 U.S.C. § 1752(a)(1) & (a)(2), and 40

U.S.C. § 5104 (e)(2)(D) and (e)(2)(G). On December 6, 2023, he was indicted by the District of

Columbia on those same charges. On April 17, 2024, he and his co-defendant in the January 6 case

– David Kuntz – were indicted in a superseding indictment which charged Wilson with 18 U.S.C.

§ 1512(k) in addition to the previous charges.

          On May 17, 2024, jurisdiction on the Kentucky case was transferred to the District of

Columbia pursuant to Rule 20 and Wilson pled guilty to 18 U.S.C. § 372 in 23-CR-427 and 18

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U.S.C. § 922(g) & 924(a)(2) (possession of a firearm by a prohibited person) and 18 U.S.C. §

5841, 5861(d), and 5871 (possession of an unregistered firearm) in 24-CR-238. (ECF 56). He was

sentenced concurrently on both cases to sixty months’ imprisonment, and was remanded

immediately on August 28, 2024.

       On January 20, 2025, an Executive Order issued Granting Pardons and Commutation of

Sentences for Certain Offenses Relating to the Events at Or Near the United States Capitol on

January 6, 2021. Wilson was erroneously released from the custody of the Bureau of Prisons on

or about that date. Wilson was ordered to return to the custody of the Bureau of Prisons. Defense

counsel filed a motion to stay his return, which the government did not oppose.

       The government has reviewed the Certificate of Pardon, which was provided to the

defendant by the Office of the Pardon Attorney on or about January 29, 2025. The Certificate

makes clear that the pardon only applies to “convictions for offenses related to events that occurred

at or near the United States Capitol on January 6, 2021.” The convictions for 18 U.S.C. § 922(g)

& 924(a)(2) (possession of a firearm by a prohibited person) and 18 U.S.C. § 5841, 5861(d), and

5871 (possession of an unregistered firearm) in 24-CR-238 did not occur at the United States

Capitol on January 6, 2021, and thus, by the plain language of the certificate, the pardon does not

extend to these convictions.




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The defendant should be returned to the custody of the Bureau of Prisons.



                                            Respectfully submitted,

                                            EDWARD R. MARTIN, JR.
                                            United States Attorney
                                            D.C. Bar No. 481866

                                            ____________/S/_______
                                            JENNIFER LEIGH BLACKWELL
                                            Assistant United States Attorney
                                            D.C. Bar No. 481097
                                            601 D Street, NW
                                            Washington, D.C. 20530
                                            Jennifer.blackwell3@usdoj.gov
                                            (202) 252-7068




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